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                                       MINUTE ORDER



   CASE NUMBER:                CIVIL NO. 18-00477 LEK-RT

   CASE NAME:                  A.B., et al., vs. Hawai’i State Department of Education et al.,




         JUDGE:        Leslie E. Kobayashi               DATE:               04/05/2022



  COURT ACTION: EO: COURT ORDER DIRECTING THE PARTIES TO MEET AND
  CONFER AND TO SUBMIT A JOINT STATUS LETTER

           On December 31, 2019, the Order Denying Plaintiffs’ Motion or Class Certification was
  filed (“12/31/19 Order”). [Dkt. no. 143.] Plaintiffs A.B. and A.M.B., by their parents and next
  friends, C.B. and D.B.; T.T., by her parents and next friends, K.T. and S.T.; and A.P., by her
  parents and next friends, C.P. and M.P, (“Plaintiffs”) filed a petition for leave to file an
  interlocutory appeal from the 12/31/19 Order, and the Ninth Circuit granted the petition. See
  acknowledgment of receipt, filed 1/14/20 (dkt. no. 145); Order, filed 3/31/20 (dkt. no. 150).
  On April 4, 2022, the Ninth Circuit issued its opinion reversing the 12/31/19 Order and
  remanding the matter to this Court. A.B. v. Hawai`i State Dep’t of Educ., No. 20-15570, 2022
  WL 996575 (9th Cir. Apr. 4, 2022).

           While the Ninth Circuit’s mandate has yet to be issued, the parties are directed to meet
  and confer, and to submit a joint status letter, not more than three pages in length, advising the
  Court on their proposed briefing schedule for the class certification issue on remand. The joint
  status letter shall be submitted to the Court by April 19, 2022, by hand delivery, United States
  mail, or facsimile to (808)541-1386.

         If the parties are unable to agree upon a proposed briefing schedule, they may submit
  separate status letters, each not more than three pages in length. The letters must include a brief
  statement explaining why the parties were unable to agree on a proposed briefing schedule.

         IT IS SO ORDERED.

  Submitted by: Agalelei Elkington, Courtroom Manager
